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Exhibit O
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         IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MONTANA
                  BILLINGS DIVISION
 _________________________________________________
   TRACY CAEKAERT, and                 Case No.
   CAMILLIA MAPLEY,                    CV-20-52-BLG-SPW
            Plaintiffs,
      vs.
   WATCHTOWER BIBLE AND
   TRACT SOCIETY OF
   NEW YORK, INC., and
   WATCH TOWER BIBLE AND
   TRACT SOCIETY OF
   PENNSYLVANIA,
                                       DEPOSITION UPON ORAL
            Defendants,                EXAMINATION OF YOLANDA
                                       FRASER
   WATCHTOWER BIBLE AND
   TRACT SOCIETY OF
   NEW YORK, INC.,
            Cross Claimant,
   BRUCE MAPLEY, SR.,
            Cross Defendant.

   ARIANE ROWLAND, and
   JAMIE SCHULZE,                      Cause No.
                                       CV 20-59-BLG-SPW
            Plaintiff,
      vs.
   WATCHTOWER BIBLE AND
   TRACT SOCIETY OF
   NEW YORK, INC., and
   WATCH TOWER BIBLE AND
   TRACT SOCIETY OF
   PENNSYLVANIA,
          Defendants.
 _________________________________________________




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                                   Yolanda Fraser


 1    wasn't awake.        And me trying to comfort her, you

 2    know.

 3                And when she was finally able to let me

 4    know, she said that her brother -- that he would

 5    rape her, her brothers, her two younger brothers,

 6    not my youngest, but the two in the middle.

 7         Q.     That who would?

 8         A.     That Manuel would rape them.

 9         Q.     And that's when you asked for this meeting

10    with the Elders?

11         A.     From what I recall, it is.              Because I

12    recall telling them that he was, you know, he

13    was -- I just hate to think about it, but, yeah,

14    putting a pillow on her face and, yeah, raping her.

15         Q.     And what did Martin Svenson and Gary Baker

16    tell you in response to what you told them?

17         A.     The thing I remember is that they -- you

18    know, they were saying we had to be careful.                      They

19    didn't want it all out there.                 They wanted to know

20    if anybody had seen it, if there was another person

21    that knew that could verify it, you know, a witness

22    to it.     And I just remember that scripture they

23    read, like, two or more -- I can't even remember

24    the name of the scripture, but two or more to bear

25    witness or something.           You know, and they're -- my
                                                                               20

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                                   Yolanda Fraser


 1    daughter was devastated because she said it just --

 2    it -- you know, didn't believe her.

 3         Q.     And I think that you said earlier that

 4    they told you not to tell anyone else.                  The Elders

 5    told you that?

 6         A.     Yes.

 7         Q.     And did they specifically tell you not to

 8    report it outside of the church?

 9         A.     I asked about reporting it.              I come from a

10    community where there's -- the social services and

11    stuff are pretty active there, and, I don't know, I

12    just thought it should be reported.

13                But they did say that they were going to

14    look into it more and, you know, let us -- there

15    was nothing -- we didn't get anything except to --

16    I wanted counseling for my children, you know.                    But

17    we didn't get anything.

18         Q.     And did you report this to the police at

19    any point?

20         A.     No.

21         Q.     And how come?

22         A.     Because at the time the first and foremost

23    thing that I was taught in the congregation was

24    that we never would defame Jehovah's name in any

25    way.    And so I just remember it was really a
                                                                           21

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                                   Yolanda Fraser


 1    struggle, because I felt that my hundred percent

 2    loyalty was there, what it belonged to.

 3         Q.     To --

 4         A.     To Jehovah.

 5         Q.     And so I think you understand this, but

 6    just let me ask the question.                 Why is it that you

 7    understood that reporting it, reporting the sex

 8    abuse of your kids to the authorities, why did you

 9    believe that that would be tarnishing Jehovah's

10    name or bringing something bad --

11         A.     One thing that they brought out was it

12    would be in all the papers and -- newspapers and

13    the news, and what would that do to his name, you

14    know.

15         Q.     This is what the Elders said to you?

16         A.     Yes.

17         Q.     Did you feel like they were trying to

18    encourage you to report it or discourage you or

19    that they were neutral?

20         A.     No, they didn't want me to report.                    They

21    didn't want us to report it.

22         Q.     And at the time, what was your thought

23    about why they were asking you not to report it?

24         A.     At the time it was so that the community

25    wouldn't know; that there wouldn't be nothing, you
                                                                               22

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                                   Yolanda Fraser


 1    know, blasted out in the newspapers and any

 2    defamation.

 3         Q.     How about now?         Do you have --

 4         A.     Now I would report it.

 5         Q.     And do you have a different perspective on

 6    why they weren't reporting it or didn't want you to

 7    report it now?

 8         A.     I have a different perspective now, but --

 9         Q.     And what is that perspective now?

10         A.     Well, I've had -- I've had some of the

11    Elders that are there now come out to my home in

12    the last, like, ten years, about three times, and

13    try to get me to go back.             And I just called them

14    out as hypocrites because there still hasn't been

15    anything done.        And all they want to do is sit

16    there and tell me I have to think of my

17    ever-lasting life, you know.

18                So I still feel like it's coercion.                   I

19    have to -- if I'm ever going to meet my son that

20    passed away or my husband, I'll never meet them if

21    I don't go back.         That's bullshit.

22                I told them, I said I have a personal

23    relationship with Jehovah and he's never abandoned

24    me ever.      It's just that I had to separate from the

25    dysfunctionality there.
                                                                            23

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                                   Yolanda Fraser


 1                But did any Elder tell you not to report

 2    the abuse to the police?

 3         A.     I would say yes.

 4         Q.     Okay.     Which Elder told you that?

 5         A.     Martin Svenson.

 6         Q.     At any subsequent meeting with the Elders,

 7    did any Elder ever tell you explicitly, you cannot

 8    report this to the police?

 9         A.     You cannot report this to the police?

10         Q.     Or don't report this to the police.

11         A.     In any subsequent meeting?

12         Q.     Yes.

13         A.     My recollection is that I was told that at

14    the first meeting.          I wasn't --

15         Q.     You're -- oh, sorry.              Go ahead.

16         A.     I wasn't told it at every other meeting

17    that we had, like the follow-up meetings.

18         Q.     And your understanding of this first

19    meeting is that it occurred in the mid 1980's.                    Is

20    that right?

21         A.     Regarding Manuel.

22         Q.     When you talked to the Elders about Manuel

23    or Manuel, he had abused your daughter and your two

24    sons.     Did you discuss the abuse of all three of

25    those individuals with the Elders at that time?
                                                                             71

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